Case 2:14-cv-00384-JRG-RSP Document 167 Filed 12/14/15 Page 1 of 3 PageID #: 6197



                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

  HORIZON THERAPEUTICS, INC.,                        §
                                                     §
            Plaintiff,                               §
                                                     §
  v.                                                 §
                                                          Case No. 2:14-cv-00384-JRG-RSP
                                                     §
  PAR PHARMACEUTICAL, INC.,                          §
                                                     §
            Defendant.                               §

                                                 ORDER

            Pending before the Court is Defendant Par’s Renewed Motion to Stay (Dkt. No. 151)

  which asks the Court to stay this case because the PTAB has instituted IPR on all claims in the

  Asserted Patents.1 Par argues for a stay because the IPR decision will simplify the case. Par

  states that there are only two possible IPR decisions which will either (1) end the case entirely;

  or (2) largely remove Par’s obviousness defense. (See Dkt. No. 151 at 1–2.) Plaintiff Horizon

  opposes a stay. It claims that three factors counsel against it: (1) “the late stage of this litigation”;

  (2) “the likelihood that resolution of the [IPR] . . . of [the Asserted Patents] will not resolve all

  of, or even significantly simplify, the issues in this litigation,”; and (3) “the extensive delay that

  such a stay would inevitably cause to the resolution of this litigation and Horizon’s enforcement

  of its patent rights.” (Dkt. No. 161 at 1.)

            “District courts typically consider three factors when determining whether to grant a stay

  pending inter partes review of a patent in suit: (1) whether the stay will unduly prejudice the

  nonmoving party, (2) whether the proceedings before the court have reached an advanced stage,

  including whether discovery is complete and a trial date has been set, and (3) whether the stay

  will likely result in simplifying the case before the court.” NFC Techs. LLC v. HTC Am., Inc.,
  1
      U.S. Patent No. 8,642,012 (the ’012 patent) and U.S. Patent No. 8,404,215 (the ’215 patent).
Case 2:14-cv-00384-JRG-RSP Document 167 Filed 12/14/15 Page 2 of 3 PageID #: 6198



  Case No. 2:13-CV-1058-WCB, 2015 WL 1069111, at *2 (E.D. Tex. Mar. 11, 2015). “Based on

  th[ese] factors, courts determine whether the benefits of a stay outweigh the inherent costs of

  postponing resolution of the litigation.” Id.

          Undue prejudice. This factor favors a stay. The Asserted Patents claim methods of using

  Ravicti (see ’215 patent col. 24, ll. 27–39) a nitrogen scavenging drug that the FDA has labeled

  an “orphan drug” (Dkt. No. 151 at 2). Ravicti’s status prevents Par, or any drug manufacturer,

  from launching a generic version of Ravicti until February 2020. (Dkt. No. 151 at 2; Dkt. No.

  161 at 2.) A stay, thus, will not prejudice the enforcement of Horizon’s patent rights. Little risk

  of infringement exists because even if this litigation were stayed until the PTAB issues its IPR

  decision, all proceedings would conclude before February 1, 2020, which is over four years from

  now.

          Advanced stage. This factor disfavors a stay. Discovery has closed, the dispositive

  motions deadline is on December 18, 2015, and the case is set for trial in March 2016. (Dkt. No.

  122.)

          Simplifying the case. This factor slightly favors a stay. Even if the PTAB does not

  invalidate the asserted claims, it will simplify the invalidity case. Par partly contends the

  Asserted Patents are invalid on grounds that are not before the PTAB. (See Dkt. No. 127 (Section

  101); Dkt. No. 128 (Section 112).) Par, however, claims that it will also argue that the Asserted

  Patents are invalid on grounds before the PTAB. (Dkt. No. 151 at 1–2.) The PTAB’s written

  decision may not resolve all issues but it will at least resolve the issue of obviousness which will

  simplify the case slightly.

          Accordingly, Par Pharmaceutical, Inc.’s Renewed Motion to Stay (Dkt. No. 151) is

  GRANTED and this case is STAYED. The Parties are directed to submit a joint motion on the



                                                   2
Case 2:14-cv-00384-JRG-RSP Document 167 Filed 12/14/15 Page 3 of 3 PageID #: 6199



  status of the case no later than TEN DAYS after the PTAB issues a final written decision with

  respect to its IPR of the Asserted Patents.
           SIGNED this 3rd day of January, 2012.
         SIGNED this 14th day of December, 2015.




                                                    ____________________________________
                                                    ROY S. PAYNE
                                                    UNITED STATES MAGISTRATE JUDGE




                                               3
